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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------X
KIRKPATRICK DUNBAR,
                                        Plaintiff,
                                                                            COMPLAINT
                     -against-
                                                                            Civil Action No.
ROSA MEXICANO SECOND                                                         1:22-cv-10256
AVENUE LLC AND 251 EAST 52ND
ASSOCIATES, L.P.,

                                          Defendants.
--------------------------------------X


             Plaintiff, KIRKPATRICK DUNBAR, (“Plaintiff”), by and through his counsel, The

Marks Law Firm, P.C., hereby files this Complaint and sues ROSA MEXICANO SECOND

AVENUE LLC, a domestic limited liability company, and 251 EAST 52ND ASSOCIATES L.P.,

a domestic limited liability company, both registered in the State of New York, (hereinafter

collectively “Defendants”), for a) injunctive relief, b) compensatory relief, and c) attorney fees and

costs pursuant to 42 U.S.C. 12181, et. Seq., of the Americans with Disabilities Act (“ADA”), the

New York Human Rights Law (“NYCHRL”), and the New York State Human Rights Law

(“NYSHRL”) and alleges:

                                    JURISDICTION AND PARTIES

      1. This is an action for declaratory and injunctive relief pursuant to Title III of the ADA, 42

U.S.C. § 12181, et. Seq. This Court is vested with original jurisdiction under 28 U.S.C. §1331 and

§1343.

      2. Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) in that all events giving

rise to this lawsuit occurred in the State of New York.
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      3. The violative Premises and the events giving rise to this lawsuit are located at 251 East

52nd Street, New York, NY 10022. (hereinafter “Premises”).

      4. Venue is proper in this Court as the premises is located in the State of New York, County

of New York.

      5. The Defendants ROSA MEXICANO SECOND AVENUE LLC and 251 EAST 52ND

ASSOCIATES L.P. are each authorized to conduct and are conducting business within the State

of New York.

      6. Upon information and belief, ROSA MEXICANO SECOND AVENUE LLC is the lessee

and/or operator of the real property, and the owner of the improvements where the Premises is

located which is the subject of this action. Defendant also maintains and controls the Premises.

      7. Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, Defendants’ Premises is a

place of public accommodation in that it is an establishment which provides goods and services

to the public.

      8. Upon information and belief, 251 EAST 52ND ASSOCIATES L.P. is the owner, lessor

and/or operator and managing agent of the real property where the Premises is located, which is

the subject of this action, which also maintains and controls the Premises.

      9. Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building and/or Premises

which is the subject to this action is a public accommodation covered by the ADA and which must

be in compliance therewith.

      10.        The remedies provided by the NYSHRL against discrimination are not exclusive

and state administrative remedies need not be exhausted in connection with suits brought under

the Federal Civil Rights Act.
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      11.      At the time of Plaintiff’s visits to the Premises, and prior to the instant action,

Plaintiff was, and still is, a resident of the City and State of New York. Plaintiff is a paraplegic,

which constitutes a “qualified disability” under the ADA of 1990. Plaintiff uses a wheelchair for

mobility.

      12.      On July 12, 2022, Plaintiff last attempted to enter Defendants’ trendy Rosa

Mexicano Premises, which is a few miles from his Bronx home, just blocks from his friends home

where he hangs out on a regular basis, to purchase their authentic Mexican Food dishes. Although

Rosa Mexicano is back in the neighborhood with their trendy Mexican style restaurant where they

first opened in 1984, they unfortunately failed to include the trendy ADA accessible features at

Plaintiffs detriment. Plaintiff is 39 years old and enjoys the popular restaurants like Rosa Mexicano

and was excited to have a refreshing drink and Mexican food during the summer. Because of the

architectural barriers at the entrances of the store, such as the step at the entrance, Plaintiff was

unable to enter the restaurant to escape the heat, or hang out by the 16 person bar with his friend,

nor was he able to sit at the indoor tables and was forced to rely on an employee to deliver his food

to him outside and use the non-accessible table, making it difficult to eat to his embarrassment.

As a result of this experience, Plaintiff was denied full and equal access to, and full and equal

enjoyment of, the facilities at Defendants’ Premises, which is subject to this instant litigation.

      13.      Plaintiff is routinely in the neighborhood visiting friends, appointments for his

health, eating at restaurants, and visiting the various shops/stores in this major thoroughfare that

attracts people from around the world. Plaintiff has attempted to enter Defendants’ Premises on

multiple occasions in the past during the summer, and as recently in November 2022, but continues

to be denied access each time, and therefore suffered an injury in fact. Plaintiff is currently deterred

from going to the restaurant based on his knowledge of the barriers to access that exists and intends
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on immediately returning to the Premises to purchase drinks by the bar, and enjoy their unique and

trendy authentic Mexican dishes once the barriers are removed and the Premises is ADA

compliant.

     14.      Defendants’ violations impede upon Plaintiff’s, and other similarly situated disabled

individuals’ right to travel free of discrimination. It should be noted that the commercial premises

on both sides of Rosa Mexicano, both has accessible permanent ramps to their entrance. There is

no excuse for Defendants willfully ignoring their ADA compliance obligations.

     COUNT I - VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

     15.      The ADA prohibits discrimination on the basis of disability. The Act guarantees

reasonable accommodations for individuals with disabilities to ensure they are not the subject of

discrimination.

     16.      The ADA and 2004 ADA/ABA Accessibility Guidelines for Buildings and

Facilities (36 CFR Part 1191, Appendices B and C) along with 28 CFR Part 36, Subpart D, the

New Construction and Alterations portion of Title III (all hereinafter referred to as the “2010

Standards” or “Accessibility Standards”) dictate that property owners and operators of

commercial premises being used as “commercial establishments” are responsible for complying

with these Federal Accessibility Standards.

     17.      The Plaintiff is informed and believes, and therefore alleges that the Premises has

begun operations and/or undergone substantial remodeling, repairs, and/or alterations since

January 26, 1990.

     18.      Defendants have discriminated, and continue to discriminate, against the Plaintiff,

and others that are similarly situated, by denying full and equal access to and full and equal
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enjoyment of goods, services, facilities, privileges, advantages, and/or accommodations at

Defendants’ Premises, in violation of these Accessibility Standards.

     19.       The Plaintiff has been unable to and continues to be unable to enjoy full and equal

safe access to, and the benefits of, all the accommodations and services offered at Defendants’

Premises.

     20.       Plaintiff visited Defendants’ Premises with the intention of utilizing Defendants’

facilities, but was denied access to the Premises, and therefore suffered an injury in fact. In

addition, Plaintiff continues to reside in New York and continues to desire to visit the Premises

in the future, but will suffer future harm in that he is unable to access the Premises and continues

to be discriminated against due to the architectural barriers which remain at the Premises, all in

violation of the ADA, and New York State and City Human Rights Law.

     21.       Pursuant to the mandates of 42 U.S.C. §12134(a), On July 26, 1991, the

Department of Justice, Office of Attorney General, promulgated Federal Regulations to

implement the requirements of the ADA, known as the American with Disabilities Act

Accessibility Guidelines (hereinafter “2010 ADAAG”), 28 C.F.R. Part 36, under which said

Department may obtain civil penalties of up to $55,000 for the first violation and $110,000 for

any subsequent violation.

     22.       The Defendants’ Premises is in violation of 42 U.S.C. §12181 et. Seq., ADA and

the 2010 Standards, and is discriminating against the Plaintiff as a result of inter alia the

following specific violations:

     a. In front of Rosa Mexicano, the total vertical rise of accessible route leading from public

           sidewalk is greater than ½ (one-half) inch due to steps leading to the two accessible

           entrances that create a vertical rise of approximately 6 inches and thus, the accessible
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   route is not ramped in compliance with section 405 or 406, this is a violation of section

   303.4 of the 2010 ADAAG standards. This barrier to access would make it dangerous

   and difficult for Plaintiff to access the units of the Property because the vertical rise in

   the form of stairs would make it almost impossible for Plaintiff to safely access the

   interior of the public accommodation.

b. At Rosa Mexicano, the door to the accessible entrance lacks a clear minimum

   maneuvering clearance due to the fact the end of the latch side of the accessible entrance

   door being within 18 inches to the adjacent glass enclosure in violation of section 404.2.4

   of the 2010 ADAAG standards. This barrier to access would cause Plaintiff difficulty in

   utilizing the door to gain access to this unit because individuals in a wheelchair have their

   feet and legs sticking out in front of them thus requiring additional space to reach the

   door hardware and open the door. The current configuration of the accessible entrance

   of this unit blocks Plaintiff’s ability to reach the door hardware and open the door.

c. Due to a 6-inch vertical rise at both entrances, the Property lacks an access route from

   site arrival points such as the public streets and sidewalks to the accessible entrance in

   violation of section 206.2.1 of the 2010 ADAAG standards. This barrier to access would

   make it dangerous and difficult for Plaintiff to access the Property.

d. Due to an approximate 6-inch vertical rise at both entrances, the accessible route leading

   into this public accommodation contains a vertical rise in excess of ¼ inch in violation

   of section 303.2 of the 2010 ADAAG Standards. This barrier to access would make it

   difficult and dangerous for Plaintiff to attempt to utilize the accessible route as it

   increases the likelihood of the wheelchair tipping.
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e. In front of Rosa Mexicano, due to an approximate 6-inch vertical rise at both accessible

   entrances, the maneuvering clearances of the accessible entrances are not level in

   violation of Section 404.2.4 of the 2010 ADAAG standards. This barrier to access would

   make it difficult for Plaintiff to access this unit of the Property since it is often necessary

   for individuals in wheelchairs to need to use their hands to both wheel through the

   doorway and keep the door open with another hand. When the maneuvering clearance is

   not level, this ordinarily difficult process is made even more difficult by the presence of

   an excessive vertical rise.

f. There is not at least one accessible entrance to each tenant space in the building that

   complies with section 404 of the 2010 ADAAG standards which is a violation of section

   206.4.5 of the 2010 ADAAG Standards.

g. As not all entrances comply with section 404 of the 2010 ADAAG Standards, entrances

   that do comply with section 404 of the 2010 ADAAG Standards are required to have

   signage identified by the International Symbol of Accessibility indicating an accessible

   entrance, however, no such signage exists on the Property in violation of section 216.6

   of the 2010 ADAAG Standards. Moreover, there is a lack of directional signage

   indicating the location of the nearest accessible entrance. This barrier to access would

   make it difficult for Plaintiff to locate an accessible entrance on the Property.

h. The walking surfaces of the accessible route leading to the exterior seating have a cross

   slope in excess of 1:48, in violation of section 403.3 of the 2010 ADAAG standards. This

   barrier to access would make it dangerous and difficult for Plaintiff to access the units of

   the Property because excessive cross-slope along accessible routes increases the

   likelihood of Plaintiff’s wheelchair tipping over on its side and injuring Plaintiff.
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i. At least 5% of the tables are not accessible indoors or at the outside seating. In fact there

   is no accessible seating whatsoever.

j. There is no accessible seating at the bar.

k. Inside Rosa Mexicano, the bar is lacking any portion of the counter that has a maximum

   height of 34 (thirty-four) inches from the finished floor in violation of section 902.3 of

   the 2010 ADAAG standards, all portions of the bar exceed 34 (thirty-four) inches in

   height from the finished floor. This barrier to access would make it difficult for Plaintiff

   to enjoy the unique eating experience at the bar.

l. Inside Rosa Mexicano, the Property lacks an accessible route connecting the accessible

   elements and features of the main floor with the lower floor in violation of section 206.2.3

   of the 2010 ADAAG standards. Specifically, the restroom is located in the lower floor

   and the only access is via stairs. This barrier to access would make it difficult for Plaintiff

   to access public features of the Property. The building has more than three stories and

   none of the exceptions asserted in section 206.2.3 of the 2010 ADAAG standards apply.

m. Inside Rosa Mexicano, the Property lacks an accessible route to the second floor.

n. Due to the fact the restrooms are downstairs and not accessible, there is not a single

   accessible route connecting the accessible entrance to the features inside the Property,

   such as a restroom, in violation of section 206.2.4 of the 2010 ADAAG Standards. This

   barrier to access would make it difficult for Plaintiff to access the interior features of the

   Property due to a safe accessible route leading from the exterior to the interior spaces

   inside the Property, such as the restroom.

o. Even if there was access to the restroom downstairs, the restroom lacks signage in

   compliance with sections 216.8 and 703 of the 2010 ADAAG standards. This barrier to
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   access would make it difficult for Plaintiff and/or any disabled individual to locate

   accessible restroom facilities.

p. The lavatories and/or sinks in the restrooms have exposed pipes and surfaces and are not

   insulated or configured to protect against contact in violation of section 606.5 of the 2010

   ADAAG standards. This barrier to access would make it difficult for Plaintiff and/or any

   disabled individual to safely utilize the sink as the pipes underneath the sink typically

   have sharp surfaces and/or hot pipes, and since individuals in wheelchairs use a sink

   while seated, their legs are particularly vulnerable to these threats.

q. The accessible toilet stall door is not self-closing and violates section 604.8.2.1 of the

   2010 ADAAG standards. This barrier to access would make it difficult for the Plaintiff

   and/or any disabled individual to safely and privately utilize the restroom facilities.

r. The door locking hardware of the bathroom stall has operable parts which require tight

   grasping, pinching or twisting of the wrist in violation of section 309.4 of the 2010

   ADAAG standards. This barrier to access would make it difficult for Plaintiff and/or any

   disabled individual to utilize the restroom facilities.

s. The distance of the centerline of the toilet is more than 18” from the side wall. As a result,

   the toilet is not adequately positioned from the side wall or partition positioning in

   violation of 604.2 of the 2010 ADAAG standards. This barrier to access would make it

   difficult for Plaintiff and/or any disabled individual to safely utilize the restroom

   facilities.

t. The grab bars/handrails adjacent to the commode are missing and violate section 604.5

   of the 2010 ADAAG standards. This barrier to access would make it difficult for Plaintiff
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            and/or any disabled individual to safely transfer from the wheelchair to the toilet and

            back to the wheelchair.

      u. The toilet paper dispenser in the accessible toilet is not positioned in seven to nine inches

            in front of the toilet and therefore is in violation of section 604.7 of the 2010 ADAAG

            standards. This barrier to access would make it difficult for Plaintiff to utilize the toilet

            due to the fact the toilet paper dispenser is at an improper distance from the toilet, given

            Plaintiff’s disability, Plaintiff would not be able to get up and reach the toilet paper.

      v. The height of coat hook located in accessible restroom stall is above 48 (forty-eight)

            inches from the finished floor in violation of section 308.2.1 of the 2010 ADAAG

            standards. This barrier to access would make it difficult for Plaintiff and/or any disabled

            individual to reach the coat hook as individuals in wheelchairs are seated and have

            significantly less reach range than individuals who stand up.

      w. Defendant fails to adhere to a policy, practice and procedure to ensure that all facilities

            are readily accessible to and usable by disabled individuals.

      23.        Upon information and belief, there are other current violations of, inter alia, the

ADA at Defendants’ Premises, and only once a full inspection is done can all said violations be

identified.

      24.       To date, the architectural barriers and other violations of the ADA still exist, the

removal of which is readily achievable and have not been remedied or altered in such a way as to

effectuate compliance with the provisions of the ADA or to create access to the Premises.

      25.       Pursuant to ADA, 42 U.S.C. §1201 et. Seq. and the Accessibility Standards, the

Defendants were required to make the Premises, a place of public accommodation, accessible to
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person with disabilities since January 28, 1992. To date, the Defendants have failed to comply

with this mandate.

      26.       Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

Plaintiff injunctive relief; including an order to alter the Premises to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by ADA, and

order the closing of the Subject Facilities until the requisite modifications are completed.

COUNT II – VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW

      27.       Plaintiff repeats, reiterates, and re-alleges each and every allegation contained

hereinabove in paragraphs “1” through “26” inclusive of this Complaint with the same force and

effect as if hereinafter set forth at length.

      28.       The New York City Human Rights Law provides:

                     a. It shall be an unlawful discriminatory practice for any person, being the

                        owner, lessee, proprietor, manager, superintendent, agent or employee of

                        any place or provider of public accommodation because of the actual or

                        perceived…disability…of any person, directly or indirectly, to refuse,

                        withhold from or deny to such person any of the accommodations,

                        advantages, facilities or privileges thereof…to the effect that any of the

                        accommodations, advantages, facilities and or denied to any person on

                        account of…disability…

                        NYC Admin. Code §8-107(4)(a).

      29.       Defendants are in violation of the New York City Human Rights Law by denying

the Plaintiff full and safe access to all of the benefits, accommodations and services of the

Premises.
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      30.       Defendants’ unlawful discriminatory conduct constitutes willful and wanton

violations of the Administrative Code for which Plaintiff is entitled to an award of punitive

damages. Admin. Code §8-502.

COUNT III – VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW

      31.       Plaintiff repeats, reiterates, and re-alleges each and every allegation contained

hereinabove in paragraphs “1” through “30” inclusive of this Complaint with the same force and

effect as if hereinafter set forth at length.

      32.       The New York State Human Rights Law provides:

                    a. It shall be unlawful discriminatory practice for any person, being the

                        owner, lessee, proprietor, manager, superintendent, agent, or employee of

                        any place of public accommodation…because of the…disability…of any

                        person, directly, or indirectly, to refuse, withhold from or deny to such

                        person any of the accommodations, advantages, facilities, or privileges

                        thereof…to the effect that any of the accommodations, advantages,

                        facilities and privileges of any such place shall be refused, withheld from

                        or denied to any person on account of…disability…

                        NYS Exec. Law §296 (2)(a).

      33.       Defendants’ Premises is a place of public accommodation as defined in the New

York State Human Right Law.

      34.       The Defendants have further violated the New York State Human Rights Law by

being in violation of the rights provided under the ADA.
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     35.       Defendants are in violation of the New York State Human Rights law by denying

the Plaintiff full and safe access to all of the benefits, accommodations and services of the

Premises.

                                        PRAYER FOR RELIEF

     36.        The Plaintiff demands compensatory damages in an amount to be determined by

proof, including all applicable statutory damages and fines, for violations of their civil rights

under New York State Human Rights Law and City Claw, including compensatory damages

contemplated by §297(4)(c).

     37.       Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

Plaintiff’s injunctive relief; including an order to alter the Premises to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA, the

New York City Human Rights Law, and the New York State Human Rights law, and closing the

Subject Facilities until the requisite modifications are completed.

     38.       Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by

state and federal law;

       WHEREFORE, the Plaintiff hereby demands judgment against the Defendants joint and

severally and requests the following injunctive and declaratory relief:

            a. The Court declares the Premises owned, operated, leased, controlled, and/or

               administered by the Defendants are in violation of the ADA, the New York City

               Human Rights Law, and of the New York State Human Rights Law;

            b. The Court enter an Order requiring the Defendants to alter their facilities and

               amenities to make them accessible to and usable by individuals with disabilities to
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           the full extent required by Title III of the ADA and by NYCHRL, and the

           NYSHRL;

        c. The Court enter an order directing the Defendants to evaluate and neutralize their

           policies, practices and procedures toward persons with disabilities, for such

           reasonable time to as to allow the Defendants to undertake and complete corrective

           procedures to the Premises;

        d. The Court award compensatory damages, including all applicable statutory

           damages and fines, to Plaintiff;

        e. The Court award reasonable attorney fees, all costs (including but not limited to

           court costs, expert fees, etc.) and other expenses of suit to the Plaintiff; and

        f. The Court award such other and further relief as this Court deems necessary, just

           and proper.

Dated: New York, New York
       December 2, 2022


                                          THE MARKS LAW FIRM, PC

                                          By:__________________
                                          Bradly G. Marks
                                          155 E 55th Street, Suite 4H
                                          New York, New York 10022
                                           T:(646) 770-3775
                                           F: (646) 770- 2639
                                           Brad@markslawpc.com
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KIRKPATRICK DUNBAR,

                             Plaintiff,

             -against-

ROSA MEXICANO SECOND AVENUE LLC AND 251 EAST 52ND ASSOCIATES, L.P.,



                             Defendants,


                         SUMMONS AND COMPLAINT




                          THE MARKS LAW FIRM, PC
                          Attorney for Plaintiff
                          155 E 55th Street, Suite 4H
                          New York, New York 10022
